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  EXHIBIT B
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            Commonwealth of Pennsylvania
             Office of the Attorney General


            Reciprocity Agreements




                    Civil Law Division
                   Legal Review Section
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                           RECIPROCITY AGREEMENT
                                      between
                          The Commonwealth of Pennsylvania
                                        and
                                The State of Georgia
This Reciprocity Agreement is between the Commonwealth of Pennsylvania, by and through its
Office of Attorney General, and the State of Georgia, by and through its Office of Attorney
General (together, the "Parties").

WHEREAS, the purpose of this Reciprocity Agreement is to mutually extend reciprocal
concealed firearm carry license privileges to the residents of the Commonwealth of
Pennsylvania and the State of Georgia;

WHEREAS, the Commonwealth of Pennsylvania authorizes individuals, with a license issued
under 18 Pa. C.S. § 6109 (the "PA License"), to carry a concealed firearm;

WHEREAS, the State of Georgia authorizes individuals, with a license issued under O.C.G.A.
§ 16-11-129 (the "GA License"), to carry a concealed firearm;

WHEREAS, the Office of Attorney General of the Commonwealth of Pennsylvania is
authorized by 18 Pa. C.S. § 6109(k) to enter into a reciprocity agreement with the State of
Georgia providing for the recognition of GA Licenses;

WHEREAS, the Office of Attorney General ofthe State of Georgia is authorized by O.C.G.A.
§ 16-11-126(e) to enter into a reciprocity agreement with the Commonwealth of Pennsylvania
providing for the recognition of P A Licenses;

WHEREAS, the Office of Attorney General of the Commonwealth of Pennsylvania has
determined that the GA License meets the requirements for reciprocity in the Commonwealth of
Pennsylvania;

WHEREAS, the Office of Attorney General of the State of Georgia has determined that the P A
License meets the requirements for reciprocity in the State of Georgia; and

NOW, THEREFORE, in consideration of the mutual benefits and obligations set forth in this
Reciprocity Agreement, the Parties hereby agree and covenant as follows:

    1. The recitals above are reaffirmed and incorporated herein as material provisions of this
       Reciprocity Agreement.

   2. The Commonwealth of Pennsylvania shall recognize all valid GA Licenses issued to
      legal residents of the State of Georgia who are 21 years of age or older; the rights and
      privileges of GA License holders recognized under this Reciprocity Agreement shall be
      the same as, and not greater than, those rights and privileges granted to P A License
      holders under Pennsylvania law.


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   3. The State of Georgia shall recognize all valid PA Licenses; the rights and privileges of
      PA License holders recognized under this Reciprocity Agreement shall be the same as,
      and not greater than, those rights and privileges granted to GA License holders under
      Georgia law.

   4. This Reciprocity Agreement applies only to the carrying of concealed firearms and not to
      any other types of weapons.

   5. The Commonwealth of Pennsylvania and the State of Georgia will promptly inform each
      other of any changes in their respective concealed carry firearm license statutes and
      provide a copy of the revised statutes, as any changes may impact the validity of this
      Reciprocity Agreement.

   6. This Reciprocity Agreement is contingent upon and shall remain effective only as long as
      the respective statutory authority set forth above continues to authorize the Parties to
      grant reciprocal privileges.

   7. This Reciprocity Agreement shall become immediately effective, and rescind and replace
      any prior agreement, upon its execution by the Parties and shall continue in effect unless
      modified or terminated by the Parties in writing.

   8. This Reciprocity Agreement may be terminated by either Party upon thirty (30) calendar
      days' written notice.

   9 . .GA License holders carrying a concealed firearm in the Commonwealth ofPennsylvania
        under this Reciprocity Agreement shall comply with all applicable laws, rules, and
        regulations ofthe Commonwealth of Pennsylvania.

   10. PA License holders carrying a concealed firearm in the State of Georgia under this
       Reciprocity Agreement shall comply with all applicable laws, rules, and regulations of
       the State of Georgia.

   11. This document is not intended to and shall not limit or restrict the statutory authority or
       jurisdiction of the Parties.


                                                      TinaM. Pi] r
Chief Deputy Attorney General                         Senior Assistant Attorney General
Office of Attorney General                            Office of Attorney General
Commonwealth of Pennsylvania                          State of Georgia




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